




NO. &nbsp;07-07-0115-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



AUGUST 9, 2007

______________________________



THE STATE OF TEXAS, APPELLANT



V.



JEROME PAUL MARROQUIN, APPELLEE

_________________________________



FROM THE 108
TH
 DISTRICT COURT OF POTTER COUNTY;



NO. 54,102-E; HONORABLE RICHARD DAMBOLD, JUDGE

_______________________________





Before CAMPBELL and HANCOCK and PIRTLE, JJ.

ON MOTION TO DISMISS

Pending before this Court is the State’s motion to dismiss its appeal. &nbsp;The State’s attorney has signed the document stating that the State withdraws its appeal. &nbsp;Tex. R. App. P. 42.2(a). &nbsp;No decision of this Court having been delivered to date, we grant the motion. &nbsp;Accordingly, the appeal is dismissed. &nbsp;No motion for rehearing will be entertained and our mandate will issue forthwith.

Mackey K. Hancock

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

Do not publish.


